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 4
     Attorney for Defendant
 5   MICHAEL ALVARO
 6

 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                          SACRAMENTO DIVISION
10

11
     UNITED STATES OF AMERICA,                         )   Case No. CR S 04-491 FCD
12                                                     )
                                  Plaintiff,           )
13                                                     )   STIPULATION AND ORDER
              vs.                                      )   CONTINUING HEARING ON CHANGE OF
14                                                     )   PLEA
     MICHAEL ALVARO,                                   )
15                                                     )
                                  Defendants.          )
16                                                     )
17

18             It is hereby stipulated and agreed to between plaintiff, UNITED STATES OF
19   AMERICA, through its counsel of record, Daniel S. Linhardt, Assistant United States Attorney,
20   and defendant, MICHAEL ALVARO, through his counsel of record, Joseph J. Wiseman, that the
21   hearing scheduled for October 3, 2005, at 9:30 a.m., be rescheduled to October 17, 2005, at 9:30
22   a.m. The parties are requesting this continuance to provide defense counsel with additional time
23   to discuss with defendant the plea agreement the government has proffered in the case.
24             The parties further stipulate and agree that time from the date of this Order through the
25   date of the hearing set for October 17, 2005 be excluded from the speedy trial
26   ///
27   ///
28   ///

                                                        1
     _________________________________________________________________________________________________
     STIPULATION AND ORDER CONTINUING HEARING                                                CR S 04-401 FCD
     ON CHANGE OF PLEA
       Case 2:04-cr-00491-EJG Document 30 Filed 09/29/05 Page 2 of 2


 1   calculation pursuant to 18 U.S.C. §§ 3161(h)(8)(B)(iv) (reasonable time to prepare) and Local
 2   Rule T4.
 3

 4   Dated: September 29, 2005                      Respectfully submitted,
 5                                                  JOSEPH J. WISEMAN, P.C.
 6

 7                                                  By:     /s/ Joseph J. Wiseman
 8                                                  JOSEPH J. WISEMAN
                                                    Attorney for Defendant
 9
                                                    MICHAEL ALVARO
10

11   Dated: September 29, 2005                      McGREGOR W. SCOTT

12                                                  United States Attorney

13

14                                                  By:      /s/ Daniel S. Linhardt

15
                                                    DANIEL S. LINHARDT, AUSA
                                                    Attorney for Plaintiff
16                                                  UNITED STATES OF AMERICA
17

18
                                                    ORDER
19
            GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
20
     hearing in the above-captioned case be continued to October 17, 2005 at 9:30 a.m.
21
     IT IS FURTHER ORDERED THAT the time from the date of this Order to October 17, 2005 be
22
     excluded pursuant to 18 U.S.C. §§ 3161(h)(8)(B)(iv) (reasonable time to prepare) and Local Rule
23
     T4.
24

25
     Dated: September29, 2005                       /s/ Frank C. Damrell Jr.
26
                                                    FRANK C. DAMRELL
27
                                                    UNITED STATES DISTRICT JUDGE
28


                                                        2
     _________________________________________________________________________________________________
     STIPULATION AND ORDER CONTINUING HEARING                                                CR S 04-401 FCD
     ON CHANGE OF PLEA
